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             EXHIBIT 14
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                EXHIBIT 11
               Case 1:22-cv-11378-RGS Document 227-14 Filed 02/21/24 Page 3 of 5




From:               Kasaraneni, Karthik <karthikkasaraneni@paulhastings.com>
Sent:               Friday, December 8, 2023 11:41 PM
To:                 Salvatore, Jerry A.; Landes, Gabrielle; Curtis, Annaleigh; lbromberg@mccarter.com;
                    ebelt@mccarter.com; wproctor@mccarter.com; Selby, Thomas; Fisher, Stanley; Kayali, Kathryn; Liu,
                    Michael; Ghosh, Shayon; Tavares, Julie; Anderson, Derrick; Bernal Anderson, Haylee;
                    Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com;
                    brucewexler@paulhastings.com; ericdittmann@paulhastings.com; Park, Young J.; Kung, Simon;
                    Minniti, Carl; Meuth, Ryan; COVIDPatentPfizer; 'BioNTech-Moderna-PH@paulhastings.com'; Mays-
                    Williams, Ashley
Cc:                 WH_Moderna_Lit
Subject:            RE: Moderna v. Pfizer and BioNTech, 22-cv-11378--BioNTech Documents
Attachments:        BioNTech Third Supplemental Privilege Log, 12.08.2023.pdf



EXTERNAL SENDER


Counsel,

Pursuant to the Protective Order (D.I. 67, ¶¶ 9.2‐9.3), please immediately destroy the original and all copies of the
following documents produced by BioNTech, destroy any notes or other writings or records that summarize, reflect, or
discuss the specific contents of the document, and make no further use of the documents or the information contained
therein. Please also confirm your compliance within five days. Id. A supplemental privilege log is attached, which also
includes documents referenced in our December 7, 2023 correspondence below, and excludes any documents that will
be re‐produced with redactions.

BNT_COMIR_0762911
BNT_COMIR_0762912
BNT_COMIR_0867908
BNT_COMIR_0880438
BNT_COMIR_0880451
BNT_COMIR_1369277
BNT_COMIR_1378083
BNT_COMIR_1378085
BNT_COMIR_1378166
BNT_COMIR_1378169
BNT_COMIR_1380657
BNT_COMIR_1380725
BNT_COMIR_1380727
BNT_COMIR_1380752
BNT_COMIR_1380776
BNT_COMIR_1380778
BNT_COMIR_1388845
BNT_COMIR_1388846
BNT_COMIR_1388847
BNT_COMIR_1388848
BNT_COMIR_1416836
BNT_COMIR_1416837
BNT_COMIR_1420116
                                                           1
               Case 1:22-cv-11378-RGS Document 227-14 Filed 02/21/24 Page 4 of 5

BNT_COMIR_1420117
BNT_COMIR_1420475

Thank you,
Karthik


From: Salvatore, Jerry A. <Jerry.Salvatore@wilmerhale.com>
Sent: Friday, December 8, 2023 6:32 PM
To: Landes, Gabrielle <gabriellelandes@paulhastings.com>; Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>;
lbromberg@mccarter.com; ebelt@mccarter.com; wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>; Fisher,
Stanley <SFisher@wc.com>; Kayali, Kathryn <KKayali@wc.com>; Liu, Michael <mliu@wc.com>; Ghosh, Shayon
<sghosh@wc.com>; Tavares, Julie <jtavares@wc.com>; Anderson, Derrick <danderson@wc.com>; Bernal Anderson,
Haylee <HAnderson@wc.com>; Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com;
Wexler, Bruce M. <brucewexler@paulhastings.com>; Dittmann, Eric W. <ericdittmann@paulhastings.com>; Park, Young
J. <youngpark@paulhastings.com>; Kung, Simon <simonkung@paulhastings.com>; Minniti, Carl
<carlminniti@paulhastings.com>; Meuth, Ryan <ryanmeuth@paulhastings.com>; COVIDPatentPfizer
<COVIDPatentPfizer@wc.com>; 'BioNTech‐Moderna‐PH@paulhastings.com'; Mays‐Williams, Ashley
<ashleymayswilliams@paulhastings.com>
Cc: WH_Moderna_Lit <WH_Moderna_Lit@wilmerhale.com>
Subject: [EXT] RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐BioNTech Documents

Counsel,

Moderna will comply with the paragraphs of the protective order you cite below and provide notice when the
documents have been deleted. At this time, however, Moderna believes that BioNTech’s claw back of these documents
is improper, including for the reasons noted during the depositions of             and           . Moderna reserves all
rights, including those described in ¶ 9.3(a) of the Protective Order, to contest BioNTech’s privilege claim over these
documents. To streamline the process described in the Protective Order, we request that BioNTech promptly provide its
basis for its claim of privilege over these documents that is described in ¶ 9.3(b) of the Protective Order.

Best,
Jerry

From: Landes, Gabrielle <gabriellelandes@paulhastings.com>
Sent: Thursday, December 7, 2023 3:22 PM
To: Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>; lbromberg@mccarter.com; ebelt@mccarter.com;
wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>; Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn
<KKayali@wc.com>; Liu, Michael <mliu@wc.com>; Ghosh, Shayon <sghosh@wc.com>; Tavares, Julie
<jtavares@wc.com>; Anderson, Derrick <danderson@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>;
Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; brucewexler@paulhastings.com;
ericdittmann@paulhastings.com; Park, Young J. <youngpark@paulhastings.com>; Kung, Simon
<simonkung@paulhastings.com>; Minniti, Carl <carlminniti@paulhastings.com>; Meuth, Ryan
<ryanmeuth@paulhastings.com>; COVIDPatentPfizer <COVIDPatentPfizer@wc.com>; 'BioNTech‐Moderna‐
PH@paulhastings.com'; Mays‐Williams, Ashley <ashleymayswilliams@paulhastings.com>
Cc: WH_Moderna_Lit <WH Moderna Lit@wilmerhale.com>
Subject: RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐BioNTech Documents

EXTERNAL SENDER


Counsel,
                                                           2
                  Case 1:22-cv-11378-RGS Document 227-14 Filed 02/21/24 Page 5 of 5


Pursuant to the Protective Order (D.I. 67, ¶¶ 9.2‐9.3), please immediately destroy the original and all copies of the
following documents produced by BioNTech, destroy any notes or other writings or records that summarize, reflect, or
discuss the specific content of the document, and make no further use of the documents or the information contained
therein. Please also confirm your compliance within 5 days. Id.

        BNT_COMIR_1380677
        BNT_COMIR_1420474
        BNT_COMIR_1165808

Thank you,
Gabrielle




                                 Dr. Gabrielle Landes | Associate, Litigation Department
                                 Paul Hastings LLP | 200 Park Avenue, New York, NY 10166 | Direct: +1.212.318.6458 | M
                                 +1.212.318.6000 | Fax: +1.212.319.4090 | gabriellelandes@paulhastings.com|
                                 www.paulhastings.com




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